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                                                                               rl LEO
                           UNITED STATES DISTRICT COURT
                                         FOR THE                      2023 FE 15 J\M CJ: 5i
                                 DISTRICT OF VERMONT                           CL[Ri\


Preservation Burlington,                    )
Karyn Norwood, and Liisa Ruma nn,                   )
                                            )
     Plaintiffs,                            )
V.                                          )
Cathedral of the Immaculate Conception )
Parish Charitabie Trust and City of    )
Burlington,                            )
                                            )
     Defendants.                            )




                   PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
                        AND TEMPORARY RESTRAINING ORDER

          Plain tiffs Preservation Burlington, Karyn Norwood, and Liisa Riemann move
under F.R.Civ.P. 65(a) for a preliminary injunction to enjoin Defendants from
demolish ing or damaging the former Cathedral of the Immaculate Conception or its
landscaping until Plaint iffs' Establishme nt Clause claim is resolved by this Court. If
Plaintiffs' motion cannot be heard and decided before February 17, 2023, Plaintiffs
move for a temporary restraining order under F.R.Civ.P. 65(b) until the application
for a preliminary injunction can be adjudica ted.
          This motion is based on the following grounds:
          1. Defendant City of Burlington, by its Development Review Board ("DRB"),
issued a zoning permit ("Permit") to the Defendant Cathedral of the Immaculate
Conception Parish Charitable Trust ("Trust") on January 17, 2023, to demolish the
former cathedral at 20 Pine Street. See Ex. 1. The Permit becomes effective 30 days
from issuance, or Feb ruary 1 7, 2023.
          2. In issuing the Permit, the DRB acknowledged that the former cathedral
and grounds are "a significant property wit hin the city's downtown" which, among
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other things, has been: 1) identified in a 2010 Su rvey of Modern Architecture in
Burlington; 2) recognized by arti cles in national publications, including Architectural
Record and Architecture and Urbanism; and 3) determined to be eligible or listing on
the State and National Registers of Historic Places as a property of "exceptional
importance" by the Vermont Division for Historic Preservation, the Vermont Agency
of Transportation, and the Federal Transit Administration
       3. In issu ing the Permit, the DRB also stated that the Trust's zoning request
did not meet th e requ irements of Article 14 of the Burlington Comprehensive
Development Ordinance, but found that it was prohibited from applying such
requirements und er 24 V.S.A. §4413. Accord ing to the DRB, section 4413 exempts
"churches and other places of worship, convents, and parish houses" from such
review.
       4. The forme r Cathedral of the Immaculate Conception has not been used for
worship services si nce 2018. On December 8, 2018, it was formally and officially
deconsecrated as a place of worship. Its altar, tabernacle lamp, and a portion of the
confessional were subsequently re moved, precludi ng its use to celebrate Mass. The
former cathedral has been fenced off and vacant for the last four years. Based on
representations by the Trust, the DRB found that, following demolition, "[n]o
development would remain on the lot, nor would there be any use."
       5. Plaintiffs allege that, in exempting even deconsecrated buildings from
neutral zon ing requirements with which secular property owners must comply, 24
V.S.A. §4413 favors religious over non-religious uses in violation of the
Establishment Clause of the First Amendment. Absent intervention by this Court
before February 17, 2023, Plaintiffs face the prospect that their claim will become
moot by virtue of the demolition of the former cathedral.
       6. The purpose of a preliminary injunction is "to prevent legal harm and
preserve the status quo until the determination of the action." jordache Enterprises,
Inc., v. Levi Strauss & Co., 841 F.S pp. 506, 521 (S.D.N.Y. 1993). The standard for
such relief in the Second Circuit "calls fo r a showi ng of (a) irreparable harm and (b)
either (1) a likeli hood of success on the merits or (2) sufficiently serious questions
going to the merits to make them a fair ground for litigation and a balance of
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hardships tipping decidedly toward the party requesti ng the preliminary relief."
Jackson Dairy, Inc. v. H.P. Hood & Sons, Inc., 596 F.2d 247, 250 (2d Cir. 1973). This
Court has routinely applied the Jackson Dairy test. See, e.g.,Jones v. Nat'/ Conj of Bar
Examiners, 401 F.Supp.2d 270 (D.Vt. 2011) (granting preliminary injunction in civil
rights claim by disa bled law student).
        7. Plaintiffs will suffer irreparable harm absent injunctive relief to prevent
the Trust from demolishing the fo r mer cathedral while their claim is adjudicated.
As the court said in Able v. United States, 847 F.Supp. 1038, 1043 (E.D.N.Y. 1994), the
"possible violation of constitutional rights constitutes irreparable harm." See also,
Nelson v. NASA, 530 F.3d 865, 882 (9 th Cir. 2008) ("Unlike monetary injuries,
constitutio nal violations cannot be adequately remedied through damages and
therefore generdlly constitu te irreparable harm.").
       8. In ad ition to the irreparable harm which will be suffered by Plaintiffs, the
public interest will also be harmed by the demolition of an acclaimed and
irreplaceable masterpiece of modern architecture without zoning review. The
public in terest is recognized by the Burlington zoning ordinance, which states that
"[t]he City seeks to preserve, maintain, and enhance those aspects of the city having
historical, architectural, arch aeological, and cultural merit." Burlington
Comprehensive Development Ordinance,§ 5.4.8. As the ordinance, preservation is
important "[t]o promote a sense of community based on understanding the city's
historic growth and developm~nt, and main taining the city's sense of place by
protecting iL historic and cul tural resources." Id. The ordinance is designed "[t]o
promote the ada ptive re- use of historic buildings and sites," rather than their
demolitio n.
       9. The Plai ntiffs' legal clai m present s a sufficiently serious question going to
the mer its to   m, ke it a fa ir grouna for litigation. Al though the constitutionality of
the Vermont exempt ion has never been challenged or decided, former Supreme
Cour t Ju stice John Paul Si-eve 1s nas expressed the view that an exemption for
religious in stitmions from a generally applicab le neutral zoning law violates the
Establis hm ent C1ause. See City of FJoeme v. Flores, 521 U.S. 507,537 (1997) (Stevens,
J., concurring).   ln the wo rds of Justice Stevens, such a statute:
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          p rovide[s] the Ch urch w it h a legal weapon th at no atheist or agnostic can
obta in .        Th is government al p refer ence fo r religion, as opposed to irreligion, is
fo rbid d en     by the First Am endment. Id. (citing Wallace v. ]affree, 4 72 U.S. 38, 52-
55) .

Justice Steven s' r easo n ing has also been endo rsed in th e academic literature. See,
e.g., Com m ent, Establishing A Rv,~rer Zone: The Proper Balance Between the First
Amendment Religion Clauses ln 1'he Context a/ Neutral Zoning Regulations, 149
U. Penn.L.Rev. 1507 (2001).
        9. The ba lance of hard ships in this case ti ps decidedly in favor of Plaintiffs.
Allowi ng the d e moliti on to procee d will depri ve Plaintiffs of the ability to vindicate
thei r First Amen d men t r ights, and it will pe rrnan e n tly deprive both Plaintiffs and
th e pu bli c of an irrep la ceabl e archi tect u ral land m ark. By contrast, Defendants Trust
and the City of Burlington w ill su ffe r no harm if d em olit ion is delayed. The for mer
cathed ral ha s sa t va cant a nd fe nced off for the last fo ur y ears, and the Tru st has
r ep rese nted lha , fo llow ing , e molition, it has n o use planned for the property.




                                          Cond tJ sioQ
        For th e!'(:, sons sL1ted a bo· e, Plaintiffs respectfully submit that they are
entitled to preli m inary inju nctive re li ef a nd, if n ecessary, a temporary restrain ing
order before Feb rua ry 17, 2023, to p revent the Trust from demolishing the former
cath ed ra l a t 20 Pine Slreec until Plainti ffs' legal clai m can be resolved.


Dated : Februa ry I~ 2023
Burlingt on, Vermo nt
                                                PLAINT IFFS
                                                 Prese rvation Bu rlingto

                                                By:~ ~ - --
                                                Ron Wan amaker, P

                                                ~( 1ry r. Norwood
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                             Liisa R!Etmann
